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10                        IN THE UNITED STATES DISTRICT COURT

11                      FOR THE EASTERN DISTRICT OF CALIFORNIA

12                                  SACRAMENTO DIVISION

13

14

15   UNITED STATES OF AMERICA,                  ) Case No. CR – 11-00295 MCE
                                                )
16                                              )
                                                ) STIPULATION AND ORDER TO
17                           Plaintiff,         ) CONTINUE STATUS CONFERENCE
                                                ) AND TO EXCLUDE TIME
18         v.                                   ) PURSUANT TO THE SPEEDY TRIAL
                                                ) ACT.
19   OLGA NEKRASOVA                             )
                                                )
20                           Defendant.         )
                                                )
21                                              )
                                                )
22

23         IT IS HEREBY STIPULATED by and between the parties hereto through their
24   respective counsel, Daniel McConkie, Jr., Assistant United States Attorney, attorney for
25   plaintiff; and Jennifer C. Noble, attorney for defendant Olga Nekrasova; that the
26   previously scheduled status conference of November 17, 2011, be vacated and the matter
27   be reset for status conference on December 1, 2011, at 9:00 a.m.
28   ///




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1           This continuance is requested to allow counsel additional time to review the
2    recently received plea agreement with the Defendant who is housed in Nevada County.
3    The Government concurs with this request.
4           The parties agree and stipulate the ends of justice served by the granting of such a
5    continuance outweigh the best interests of the public and the defendants in a speedy
6    trial and that time within which the trial of this case must be commenced under the
7    Speedy Trial Act should therefore be excluded under 18 U.S.C. sections 3161(h)(7)(B)(ii)
8    and (iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable time for
9    defense counsel to prepare], from the date of the parties’ stipulation, November 17,
10   2011, to and including December 1, 2011. The Court previously excluded time pursuant
11   to Local Code T2 on September 28, 2011.
12          Accordingly, the parties respectfully request the Court adopt this proposed
13   stipulation.
14   IT IS SO STIPULATED.
15
     Dated: November 17, 2011
16
                                               Respectfully submitted,
17
                                               WISEMAN LAW GROUP, P.C.
18
                                               By: /s/ Jennifer C. Noble
19                                             JENNIFER C. NOBLE
20
                                               Attorney for Defendant
                                               OLGA NEKRASOVA
21

22   Dated: November 17, 2011           BENJAMIN B. WAGNER
23
                                             United States Attorney

24                                             By: /s/ Daniel McConkie, Jr.
                                               DANIEL McCONKIE, JR.
25                                             Assistant U.S. Attorney
                                               Attorney for Plaintiff
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1                                                            ORDER
2                           The Court, having received, read, and considered the stipulation of the parties,
3    and good cause appearing therefrom, adopts the stipulation of the parties in its entirety
4    as its order. Based on the stipulation of the parties and the recitation of facts contained
5    therein, the Court finds that it is unreasonable to expect adequate preparation for
6    pretrial proceedings and trial itself within the time limits established in 18 U.S.C.
7    section 3161. In addition, the Court specifically finds that the failure to grant a
8    continuance in this case would deny defense counsel to this stipulation reasonable time
9    necessary for effective preparation, taking into account the exercise of due diligence.
10   The Court finds that the ends of justice to be served by granting the requested
11   continuance outweigh the best interests of the public and the defendants in a speedy
12   trial.
13                          The Court orders that the time form the date of the parties’ stipulation,
14   November 17, 2011, to and including December 1, 2011, shall be excluded from
15   computation of tine within which the trial of this case must be commenced under the
16   Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(B)(ii) and (iv), and Local

17   Codes T2 (complex case) and T4 (reasonable time for defense counsel to prepare). It is

18   further ordered that the November 17, 2011, status conference shall be continued until

19   December 1, 2011, at 9:00 a.m.

20                          IT IS SO ORDERED.

21   Dated: November 15, 2011
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                                                           __________________________________
23                                                         MORRISON C. ENGLAND, JR
     DEAC_Signature- END:
                                                           UNITED STATES DISTRICT JUDGE
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